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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 YELENA RUDERMAN,

                             Plaintiff,           Case No. 19-cv-02987 (RJD) (RLM)

        - against -

 LAW OFFICE OF YURIY PRAKHIN,
 P.C., and YURIY PRAKHIN, ESQ. in both
 his individual and professional capacities,

                             Defendants.




                    MEMORANDUM OF LAW IN SUPPORT OF
               DEFENDANTS’ MOTION FOR SUMMARY JUDGEMENT




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                                PRELIMINARY STATEMENT

       This Memorandum of Law is submitted by Defendants, Law Office of Yuriy Prakhin, P.C.

(the “Firm”) and Yuriy Prakhin, Esq. (“Mr. Prakhin”) (collectively, “Defendants”), by and through

their attorneys, Bond Schnoeneck & King PLLC, in support of their motion pursuant to Rule 56

of the Federal Rules of Civil Procedure for summary judgment dismissing the Complaint of

Plaintiff Yelena Ruderman (“Plaintiff”) in its entirety.        Plaintiff’s Complaint alleges that

Defendants discriminated against her on the basis of her disability and failed to accommodate her

in violation of: (1) the Americans with Disabilities Act, 42 U.S.C. § 12101 et seq. (“ADA”); (2)

New York State Human Rights Law, N.Y. Exec. Law § 296 et seq. (“NYSHRL”); and (3) New

York City Human Rights Law, N.Y.C. Admin. Code § 8-101 et seq. (“NYCHRL”). Plaintiff

cannot sustain any of the claims asserted in her Complaint.

       Plaintiff was a former Associate with the Firm whose employment was terminated as a

result of Plaintiff’s complete inability to perform the responsibilities of her job competently and

consistently. During her tenure with the Firm, Plaintiff: (1) did not maintain regular and

predictable attendance essential to the performance of her job responsibilities; (2) failed to timely

respond to or communicate with clients of the Firm; (3) failed to abide by the Firm’s policies and

procedures; (3) failed to document case notes into the Firm’s document management system;

(3) improperly assigned attorney work to paralegals and did not provide appropriate oversight;

(4) failed to efficiently and proactively settle the cases to which she was assigned, which is

essential to the financial viability of the Firm; and (5) failed to competently perform her

responsibilities as an Associate. In fact, Plaintiff’s own deposition testimony demonstrates that

she failed to adequately perform the responsibilities of her position as an Associate.




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         Defendants also provided Plaintiff with numerous reasonable accommodations, despite the

fact that Plaintiff never provided any medical documentation either establishing any alleged

medical condition or the need for an accommodation. Specifically, Defendants (1) provided

Plaintiff with leaves of absence from her position; (2) provided Plaintiff with a full-page magnifier;

(3) approved Plaintiff’s purchase of a magnifier; and (4) authorized Plaintiff to install software on

Plaintiff’s Firm-issued computer. Defendants also offered Plaintiff an additional leave of absence

in November 2018, which was rejected by Plaintiff. The overwhelming evidence demonstrates

that Plaintiff’s employment was terminated based on legitimate business reasons, in that she was

not performing her job satisfactorily. Accordingly, Defendants’ motion for summary judgment

dismissing Plaintiff’s Complaint should be granted in its entirety.


                                           STATEMENT OF FACTS1

         The Firm is a small, plaintiff-side personal injury law firm located in Brooklyn, New York.

(Prakhin Aff., ¶ 2). Mr. Prakhin established the Firm in 2002 and is the Firm’s President. (Id.)

As President, Mr. Prakhin retains sole authority to hire and fire employees of the Firm. (Id.)

         Plaintiff commenced employment with the Firm in September 2012 as a paralegal pending

Plaintiff’s admission to the New York State Bar. Upon admission to the Bar, Plaintiff was

promoted to an Associate position with the Firm. Plaintiff was supervised by Mr. Prakhin and


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  The undisputed material facts are fully set forth in the accompanying Local Rule 56.1 Statement. For the Court’s
convenience, a brief statement of the facts is set forth herein. For a complete recitation of the facts, the Court is respectfully
referred to the Affidavit of Yuriy Prakhin (“Prakhin Aff.”), sworn to May 10, 2021, the Affidavit of Gil Zohar (“Zohar
Aff.”), sworn to May 10, 2021, the Affidavit of Irene Raskin (“Raskin Aff.”), sworn to May 10, 2021, the Affidavit of
Patricia Belous (“Belous Aff.”), sworn to May 10, 2021, the Affidavit of Erika Larssen (“Larssen Aff.”), sworn to May
May 10, 2021, the Declaration of Mary Ellen Donnelly, Esq. (“Donnelly Decl.”), and relevant deposition testimony. As
used herein, “Pl. Tr..” refers to the transcript from the deposition of Plaintiff Yelena Ruderman on September 24, 2020;
“Prakhin Tr.” refers to the transcript from the depositions of Yuriy Prakhin on October 15, 2020 and November 9, 2020;
“Raskin Tr..” refers to the transcript from the deposition of Irene Raskin on November 13, 2020; “Larssen Tr..” refers to
the transcript from the deposition of Erica Larssen on November 16, 2020; “Belous Tr.” refers to the transcript from the
deposition of Patricia Belous on November 18, 2020; and “Gabo Tr.” refers to the transcript from the deposition of Irene
Gabo on December 12, 2020.


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Irene Gabo, Esq. (“Ms. Gabo”), Managing Attorney for the Firm. (Pl. Tr. at 92:18-93:24; Prakhin

Aff., ¶ 4). Plaintiff was provided with the Firm’s Employee Handbook, which contained the

policies and procedures for the Firm. (Raskin Aff., Ex. 1). Plaintiff also received training

regarding the responsibilities of an Associate attorney, including, but not limited to, using the

Firm’s case management system, SAGA; attending court appearances; and conducting

depositions. (Pl. Tr. at 104-05). Plaintiff remained employed by the Firm until February 2017, at

which time Plaintiff voluntary resigned from her employment to pursue an opportunity with

another plaintiff-side personal injury law firm, Mallilo & Grossman. (Pl. Tr. at 122:23-128:5).

       The Firm re-hired Plaintiff in June 2018 based upon Plaintiff’s representation that she had

gained significant experience at Mallilo & Grossman, including managing her own caseload and

conducting trials. (Prakhin Tr. at 197:4-16; Prakhin Aff., ¶¶ 6-9). As a result of Plaintiff’s

representation regarding her experience, Mr. Prakhin offered Plaintiff an increased salary of

$100,000. (Pl. Tr. at 138; Prakhin Tr. at 195:4-197:16; Prakhin Aff., ¶ 6). Plaintiff was also

eligible to receive discretionary bonuses of five percent (5%) of the Firm’s fee for all cases she

settled. (Pl. Tr. at 171:13-22; Prakhin Aff., ¶ 6). As a result of Plaintiff’s representation to Mr.

Prakhin regarding her external work experience at Mallilo & Grossman, Plaintiff was assigned her

own caseload to manage independently.

       Shortly after Plaintiff commenced employment with the Firm, Defendants discovered that

Plaintiff was not competently performing the responsibilities of her position. Specifically, Plaintiff

(1) was not entering case notes into SAGA, which was an essential responsibility of her position;

(2) was not responding promptly to client communications, which resulted in multiple client

complaints to Mr. Prakhin; (3) engaged in excessive use of her personal cellular telephone during

work hours; (4) did not maintain regular attendance; and (5) was not proactively settling cases.




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 (Prakhin Aff., ¶ 11). Mr. Prakhin reminded Plaintiff of the Firm’s expectations for Plaintiff’s

 performance of her job responsibilities. (Prakhin Tr. at 208-209, 214-216; Prakhin Aff., ¶ 12).

 Mr. Prakhin also began seeking a replacement for Plaintiff’s position at that time. (Prakhin Aff.,

 ¶ 13). Plaintiff acknowledges that associates at the Firm were reminded of their responsibility to

 enter appropriate notes in SAGA and the need to promptly respond to client communications. (Pl.

 Tr. at 157-158). In August 2018, the Firm hired a paralegal, Patricia Belous, to assist Plaintiff

 with the management of her caseload.

        In early September 2018, Ms. Gabo advised Mr. Prakhin that she would be leaving the

 Firm to establish her own law practice. As a result of Ms. Gabo’s notice of resignation, Ms. Gabo’s

 cases needed to be reassigned to other attorneys at the Firm. The majority of Ms. Gabo’s cases

 were assigned to Sandra Beron, another attorney in the Firm, and Plaintiff, who would also be

 assigned to work with an additional paralegal, Erica Larssen, who had been working with Ms.

 Gabo and was familiar with her cases. The remaining cases were to be distributed to other

 attorneys within the Firm. (Prakhin Aff., ¶¶ 16-18).

        Although Plaintiff was not performing the essential responsibilities of her position, at the

 time of Ms. Gabo’s resignation, Mr. Prakhin was left with no alternative but to transfer many of

 the cases to Plaintiff, who had two experienced paralegals to assist her with managing those files.

 In addition, since Ms. Larssen had been assigned to work with Ms. Gabo, she was already familiar

 with the cases being assigned to Plaintiff. Only Plaintiff and Ms. Beron had experience with the

 types of cases handled by Ms. Gabo. (Prakhin Aff., ¶¶ 16-19; Larssen Aff., ¶¶ 6-7).

        Plaintiff alleges that she began to experience problems with her vision in September 2018.

 (Pl. Tr. at 189:24-190:12). Initially, Plaintiff requested days off from work to attend doctor’s

 appointments. Pursuant to the Firm’s Employee Handbook, any request for leave must be in




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 writing and accompanied by a medical certification of a health care provider. (See Raskin Aff.,

 Exs. 1 and 2). Despite Plaintiff’s failure to provide any written request or medical documentation,

 as required under the Employee Handbook, Defendants accommodated Plaintiff’s request for time

 off from work and provided Plaintiff with a leave of absence in October 2018. Plaintiff again

 requested time off from work in November 2018. Defendants accommodated Plaintiff’s request

 and provided Plaintiff with an additional leave of absence in November 2018. Plaintiff did not

 submit any medical documentation in support of her request for time off from work as required

 under the Employee Handbook. Between August 2018 and December 2018, Plaintiff was absent

 from work a total of 25 days out of 73 possible workdays. Plaintiff did not have any medical

 appointments on 17 of the 25 days she was absent from work. (Pl. Tr. at 205:14-206:2, 217:12-

 21; Prakhin Aff., ¶¶ 20-24; Raskin Aff., ¶¶ 14-17, Ex. 4).

        Defendants also accommodated Plaintiff’s requests for devices to assist her in the

 performance of her job responsibilities. Specifically, Defendants assisted Plaintiff in enlarging the

 font on her office computer, provided Plaintiff with a magnifying device to assist her in reading

 documents, approved Plaintiff’s request to purchase a magnifier to assist her with reading

 documents, and permitted Plaintiff to install software on her computer to assist her in the

 performance of her job responsibilities. (Prakhin Aff., ¶ 25; Raskin Aff., ¶¶ 23, 24; Raskin Tr. at

 125:2-18, 145:22-147:13).     Plaintiff never provided Defendants with any documents about

 assistive devices she purchased or receipts for reimbursement. (Pl. Tr. at 214:9-19, 217:9-11,

 223:3-17).    Plaintiff was also offered an additional disability leave of absence, which

 accommodation was rejected by Plaintiff. (Raskin Tr. at 64:2-14, 158:2-10). Defendants provided

 such accommodations despite the fact that Plaintiff never provided any medical documentation or

 written documents in support of her request for an accommodation.




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        In November 2018 Plaintiff advised Mr. Prakhin and Ms. Raskin that she had received a

 diagnosis from her doctor. However, Plaintiff never provided Defendants with any documentation

 from her healthcare providers regarding her medical condition nor did she provide any medical

 documentation or information identifying any accommodations that would assist Plaintiff in

 performing the essential functions of her position. (Pl. Tr. at 205:14-206:2; 217:12-21)

        Despite Defendants’ accommodations to assist Plaintiff in the performance of her job

 responsibilities, Plaintiff remained unable to perform the essential functions of her job. (Prakhin

 Aff., ¶ 26). Plaintiff did not enter case notes in SAGA; did not proactively settle cases to which

 she was assigned, which was essential to the operation of the Firm; was non-responsive to

 communications from clients and adversaries; and did not competently perform the responsibilities

 of her position. In the late fall of 2018, Mr. Prakhin received numerous complaints from clients

 regarding Plaintiff’s failure to communicate with them regarding pending cases. (Prakhin Aff., ¶¶

 30-35; Prakhin Tr. at 209). As a result of Plaintiff’s demonstrated inability or unwillingness to

 competently perform the responsibilities of her position, Plaintiff’s employment was terminated

 effective December 14, 2018. (Prakhin Aff., ¶ 45).


                                           ARGUMENT

                                              POINT I

             THE STANDARD FOR A MOTION FOR SUMMARY JUDGMENT

        Rule 56(c) of the Federal Rules of Civil Procedure provides that summary judgment is

 appropriate where “the pleadings, depositions, answers to interrogatories, and admissions on file,

 together with the affidavits, if any, show that there is no genuine issue as to any material fact and

 that the moving party is entitled to judgment as a matter of law.” Fed. R. Civ. Pro. 56(c). The

 moving party bears the initial burden of establishing that there are no genuine issues of material



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 fact. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 256 (1986). Once demonstrated, the non-

 moving party must provide “concrete particulars” rather than merely asserting “a conclusion

 without supplying supporting arguments or facts” to show that there is a genuine issue of fact

 which would preclude summary relief. R.G. Grp., Inc. v. Horn & Hardart Co., 751 F.2d 69, 77

 (2d Cir. 1984). Summary judgment should be granted where, upon all the papers and proof

 submitted, the non-moving party has failed to establish the existence of any genuine issue of

 material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 327 (1986).

        Summary judgment is appropriate in discrimination cases, as “the salutary purposes of

 summary judgment—avoiding protracted, expensive and harassing trials—apply no less to

 discrimination cases than to other areas of litigation.” Weinstock v. Columbia Univ., 224 F.3d 33,

 41 (2d Cir. 2000) (internal quotations and alterations omitted). Indeed, even a “fact-intensive”

 employment discrimination case may be resolved on summary judgment. Abdu–Brisson v. Delta

 Air Lines, Inc., 239 F.3d 456, 466 (2d Cir.2001). For the reasons set forth below, this motion for

 summary judgment should be granted and Plaintiff’s Complaint dismissed in the entirety.

                                             POINT II

                          PLAINTIFF CANNOT ESTABLISH A
                        CLAIM OF DISABILITY DISCRIMINATION

        Plaintiff cannot establish a claim for disability discrimination under the ADA, NYSHRL,

 or NYCHRL. Claims of disability discrimination under the ADA and NYSHRL are analyzed

 under the burden-shifting framework established by the Supreme Court in McDonnell Douglas

 Corp. v. Green, 411 U.S. 792 (1973). See McBride v. BIC Consumer Prods. Mfg. Co., 583 F.3d

 92, 96 (2d Cir. 2009). The Second Circuit also applies the liberal standards of the NYCHRL to

 the basic McDonnell Douglas framework. Stuart v. T-Mobile, USA, Inc., 2015 WL 4760184

 (S.D.N.Y. 2014). Pursuant to this framework, a plaintiff must first establish a prima facie case of



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 discrimination. Sista v. CDC Ixis N. Am., Inc., 445 F.3d 161, 169 (2d Cir. 2006). Once a prima

 facie case has been established, “the defendant must produce evidence” which supports a “clear

 and specific” explanation for the termination, and which, “taken as true, would permit the

 conclusion that there was a nondiscriminatory reason for the adverse action.” Carlton v. Mystic

 Transp., Inc., 202 F.3d 129, 136 (2d Cir. 2000) (internal quotation marks omitted). The burden

 then shifts back to the plaintiff to prove discrimination,” which can be met “by showing that the

 employer’s proffered reason is pretextual.” Raspardo v. Carlone, 770 F.3d 97, 125 (2d Cir.2014)

 (internal quotations omitted).    Plaintiff cannot establish a prima facie case of disability

 discrimination.

 A.      Plaintiff Cannot Establish A Prima Facie Case

         Plaintiff cannot establish a prima facie claim of disability discrimination. To establish a

 prima facie claim of disability-based discrimination under the ADA and NYSHRL, Plaintiff must

 demonstrate that: (1) her employer is subject to the ADA and NYSHRL; (2) she was disabled

 within the meaning of the ADA and NYSHRL; (3) she was otherwise qualified to perform the

 essential functions of the job, with or without reasonable accommodation; and (4) she suffered an

 adverse employment action because of her disability. Francis v. Wyckoff Heights Med. Ctr. 177

 F. Supp. 3rd 754, 767 (E.D.N.Y 2016); Shepheard v. N.Y.C. Corr. Dep’t, 360 Fed. Appx. 249, 250

 (2d Cir. 2010). Similarly, under NYCHRL, a plaintiff must “show that the conduct complained of

 is caused by a discriminatory motive.” Jones v. N.Y.C. Transit Auth., 2020 WL 1550582, at *9

 (E.D.N.Y. Mar. 31, 2020), aff’d sub nom., 2021 WL 864694 (2d Cir. Mar. 9, 2021) (internal

 quotations omitted). Since Plaintiff was not qualified to perform the essential functions of her

 position as an Associate, Plaintiff’s disability discrimination claims should be dismissed in the

 entirety.




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        1.      Defendants did not have Notice of a Disability

        Defendants did not have notice of Plaintiff’s alleged disability. Courts have recognized

 that for a plaintiff to show that she suffered an adverse action because of a disability, the employer

 must have knowledge of the alleged disability. Moore v. Time Warner GRC 9, 18 F.Supp.2d 257

 (W.D.N.Y. 1998); see also Pacenza v. IBM Corp., 2009 WL 890060 (S.D.N.Y. 2009), aff’d, 363

 F. App’x 128 (2d Cir. 2010). “A person alleging a disability protected by the ADA has a burden

 of establishing with medical evidence the existence of the alleged disability, and presenting the

 documentation during the term of employment, not following termination.” Fagan v. United Int’l

 Ins. Co., 128 F. Supp. 2d 182, 186 fn. 2 (S.D.N.Y. 2001) (quoting Kalekiristos v. CTF Hotel Mgmt.

 Corp., 958 F. Supp. 641 (D.D.C.1997), aff’d, 132 F.3d 1481, 1997 WL 812530 (D.C. Cir.1997)).

 Even when an employer is aware of an employee’s claims of impairment, the employee must

 demonstrate that the employer was aware of an actual disability in order to establish a claim under

 the ADA. See MacEntee v. IBM, 783 F. Supp. 2d 434, 443 (S.D.N.Y. 2011) (concluding employer

 lacked notice of plaintiff’s disability where employer was aware plaintiff had taken leave for

 medical condition and had informed her manager of medical condition, but failed to provide

 documentation indicating she needed accommodations). Plaintiff never provided Defendants with

 any medical documentation demonstrating that Plaintiff had a disability at any time during her

 employment with the Firm. (Pl. Tr. at 205:14-206:2; 217:12-21). Rather, Plaintiff repeatedly

 represented that she was not disabled and rejected the Firm’s offer of a disability leave of absence

 in November 2018.       (Raskin Tr. at 64:2-14).      Accordingly, Plaintiff cannot establish that

 Defendants had actual knowledge of any alleged disability.

        2.      Plaintiff Failed to Perform the Essential Functions of her Job

        Plaintiff also failed to perform the essential functions of her job and, therefore, was not

 qualified for her position with the Firm. An employee is “qualified” for a position “only if she can


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 perform its essential functions.” McBride v. BIC Consumer Prod. Mfg. Co., 583 F.3d 92, 98 (2d

 Cir. 2009). Courts “must give substantial deference to an employer’s judgment as to whether a

 function is essential to the proper performance of a job.” Id. It is well settled that “some degree

 of regular, predictable attendance is fundamental to most jobs.” Aquinas v. Fed. Express Corp.,

 940 F. Supp. 73, 78 (S.D.N.Y. 1996) (internal quotations omitted). Indeed, “[t]he ADA does not

 require employers to tolerate chronic absenteeism even when attendance problems are caused by

 an employee’s alleged disability.” Lewis v. N.Y.C. Police Dep’t, 908 F. Supp. 2d 313, 327

 (E.D.N.Y. 2012), aff’d sub nom., 537 F. App’x 11 (2d Cir. 2013) (collecting cases); see Pierce v.

 Highland Falls-Fort Montgomery Cent. Sch. Dist., 2011 WL 4526520, at *5 (S.D.N.Y. 2011)

 (even assuming plaintiff’s absences were a result of a recognized disability, plaintiff’s absences

 render him unqualified). Plaintiff’s poor attendance record renders her unqualified to perform the

 essential functions of her job as an Associate for the Firm.

        There is no dispute that Plaintiff repeatedly failed to show up for work, and that she missed

 at least 25 days of work in just a four-month period, many without advance notice to the Firm.

 (Raskin Aff., ¶¶ 14-17, 21-22, Ex. 4; Raskin Tr. at 132-133; Prakhin Tr. at 216). Plaintiff’s

 chronic, unexcused absences rendered her unqualified for the position. The Firm’s Employee

 Handbook specifically states that “[e]xcessive absenteeism or tardiness, excused or not, will not

 be tolerated.” (Raskin Aff., Ex. 1). It is indisputable that regular and predictable attendance at

 work was essential to the performance of Plaintiff’s job responsibilities. As a litigation associate,

 Plaintiff was required to attend court conferences, conduct depositions, conduct hearings, respond

 to client communications, meet with clients, and conduct mediations. Plaintiff’s unscheduled

 absences from work required others to assume the essential functions of Plaintiff’s position to

 ensure that the Firm was satisfying its obligations to its clients, which resulted in an undue burden




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 to the other attorneys who were assigned to and responsible for a full caseload of their own.

 (Raskin Aff., ¶ 18). It is also well settled that the elimination of essential responsibilities of a

 position or transferring those responsibilities to other employees does not constitute a reasonable

 accommodation. See Snowden v. Trustees of Columbia Univ., 2014 WL 1274514, at *5 (S.D.N.Y.

 Mar. 26, 2014), aff’d, 612 F. App’x 7 (2d Cir. 2015). Based upon Plaintiff’s failure to achieve

 regular and predictable attendance at work, Plaintiff was not “otherwise qualified” for purposes of

 establishing a prima facie claim of disability discrimination.

        In addition to Plaintiff’s failure to regularly attend work, a review of Plaintiff’s short tenure

 with the Firm in 2018 further demonstrates that Plaintiff was unable to perform the essential

 functions of her job. One of the essential functions of Plaintiff’s position as an Associate with the

 Firm was to enter case notes into the Firm’s case management software, SAGA. Such notes are a

 reflection of an attorney’s work performance and ensure that there are accurate records in the case

 files for review by other attorneys assigned to cover court appearances, depositions or to respond

 to inquiries from clients. Between June 18, 2018 and December 14, 2018, Plaintiff entered only

 54 notes into SAGA, many of which were deficient in content. (Raskin Aff., ¶ 13, Ex. 3). In

 comparison, between June 18, 2018 and December 14, 2018, attorney Irene Gabo entered 2,449

 notes in SAGA, attorney Sandra Beron entered 1,073 notes in SAGA, and attorney Lilit Avetisyan

 entered 1,770 notes in SAGA. (Id.) Plaintiff failed to record adequate information about her

 assigned cases in SAGA as her position required, which deprived other attorneys of the ability to

 cover her cases with up-to-date information.

        Plaintiff also failed to proactively settle the cases assigned to her. The settlement of cases

 is not only an essential function of the Associate position, but also essential to the continued

 operation and success of the Firm. (Prakhin Aff., ¶ 7). Between June 2018 and December 2018,




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 Plaintiff earned settlement bonuses of $650, which generated revenue for the Firm of $13,000.

 (Id). Between June 2018 and December 2018, Ms. Beron earned $8,585 in settlement bonuses,

 which generated revenue for the Firm in the amount of $171,700. Ms. Gabo earned $71,000 in

 settlement bonuses during the same period, which generated revenue for the Firm in the amount

 of $1,420,000. (Id). Plaintiff’s inability to settle cases, which was critical to the financial viability

 of the Firm, demonstrates that Plaintiff failed to perform this essential function of her position.

         Plaintiff also failed to appropriately communicate with clients and respond to client

 inquiries. Plaintiff acknowledged that if she was absent from the office, she would not respond to

 client inquiries, but rather would direct her paralegals to do so. (Pl. Tr. at 153:15-19, 1587:25-

 159:5). Plaintiff even directed her paralegals to engage in settlement discussions on behalf of

 clients, a function which Plaintiff admits was the responsibility of the attorney. (Donnelly Decl.,

 Ex. V; Pl. Tr. at 153:9-11). As a result of Plaintiff’s failure to appropriately communicate with

 clients, several clients, including, but not limited to, Natalia Generalova, Azfar Khan, Laura

 Shvarts, Vitaliy Lyutyk, and Marina Zhernyakova, complained to Mr. Prakhin about Plaintiff.

 (Prakhin Aff., Exs. 1-4). Plaintiff repeatedly demonstrated that she was unable to perform the

 essential function of appropriately and respectfully communicating with the Firm’s clients.

         Plaintiff was also unable to perform her duties as counsel at depositions. Plaintiff

 acknowledges her inability to review documents, pictures, or videos presented at depositions. (Pl.

 Tr. at 25:2-10, 111:4-114:15, 250:23-251:5). Further, while employed with the Firm, Plaintiff

 appeared as counsel at a deposition during which surveillance footage was reviewed. Rather than

 adjourning the deposition, Plaintiff “faked” her representation of the client. “[T]hey have a

 surveillance video with our client in it, couldn’t see shit at all, I couldn’t even tell if that was our

 client in it. I’m faking it, like pretend like I know what’s going on.” (Donnelly Decl., Ex. TT).




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 Clearly, Plaintiff failed to perform her essential responsibilities as attorney. Since Plaintiff did not

 perform the essential functions of her position, Plaintiff was not an “otherwise qualified”

 individual.

        Plaintiff also repeatedly and consistently violated the Firm’s policies regarding the use of

 personal cellphones. The Firm’s Personal Cellular Use policy states: “Employees are prohibited

 from using their cell phones to call or text, watch videos or use internet during work hours. (Raskin

 Aff., Ex. 2). Mr. Prakhin reminded employees of the Firm’s policy on June 29, 2018: “The rule

 of this office. You cannot use your cell phone during the work hours, unless it is emergency and

 you are out of your office space.!” (Prakhin Aff., Ex. 5). Plaintiff acknowledged receipt of Mr.

 Prakhin’s message and apologized for the use of her cell phone during work hours. (Id). However,

 Firm employees repeatedly witnessed Plaintiff using her cellphone in the office for personal

 matters. (Prakhin Tr. at 253, 274; Belous Aff., ¶ 10; Raskin Aff., ¶ 10; Prakhin Aff., ¶¶ 43-44).

 Plaintiff’s failure to abide by the Firm’s workplace policies further demonstrates that she is not an

 “otherwise qualified” individual.

        3.      No Inference of Discrimination Arises from Plaintiff’s Termination

        Plaintiff also cannot establish that the termination of her employment occurred under

 circumstances that give rise to an inference of discrimination. Circumstances that give rise to an

 inference of discrimination include: “(1) the employer sought to replace a discharged plaintiff

 with another person possessing the same qualifications, although not a member of the same

 protected class as the plaintiff, (2) the employer criticized the plaintiff’s work performance in terms

 degrading to the protected class; (3) the employer made invidious comments about others in the

 plaintiff’s protected class; (4) the employer treated more favorably employees not in the protected

 class; (5) the sequence of events leading to the adverse employment action; and (6) the timing of

 the adverse employment action.” Paluh v. HSBC Bank USA, 409 F. Supp. 2d 178, 191 (W.D.N.Y.


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 2006) (citing Chambers v. TRM Copy Ctrs. Corp., 43 F.3d 29, 37 (2d Cir. 1994)). As Plaintiff

 cannot establish an inference of discrimination her disability discrimination claims must be

 dismissed.

        Plaintiff alleges in her Complaint that Mr. Prakhin stated: “I don’t know how you’ll handle

 cases with your condition” and “I’m a business man. I don’t see how this is worth it for me.”

 (Complaint at ¶¶ 76, 81). However, even if true, neither of these comments demonstrate that Mr.

 Prakhin made any decision with respect to Plaintiff’s employment based on any alleged disability.

 Rather, the documentary evidence demonstrates that Plaintiff was unable to perform the

 responsibilities of her position, with or without a reasonable accommodation. There is no dispute

 regarding Plaintiff’s failure to regularly and predictably report for work. There is no dispute about

 Plaintiff’s failure to enter sufficient SAGA notes. There is no dispute that Plaintiff did not

 proactively settle cases. There is no dispute about Plaintiff’s lack of responsiveness to clients. A

 disability does not absolve an employee of their responsibility to perform the essential functions

 of their position. See Davis v. N.Y.C Health & Hosps. Corp., 508 F. App’x 26, 29 (2d Cir. 2013).

 Additionally, despite the requirements in the Employee Handbook, Plaintiff never provided

 Defendants with any medical documentation regarding any alleged disability, nor did she identify

 any reasonable accommodation that would enable her to perform the responsibilities of her

 position as an Associate. Given the fact that Plaintiff was not adequately performing and did not

 perform the essential responsibilities of her position, with or without a reasonable accommodation,

 it did not make any business sense to continue Plaintiff’s employment with the Firm. None of the

 statements asserted by Plaintiff constitute degrading or invidious comments regarding Plaintiff or

 her alleged medical condition.




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        The documentary and testimonial evidence in this matter also demonstrates that Plaintiff

 was treated the same as other attorneys at the Firm. Defendants terminated Plaintiff’s employment

 in December 2018 due to her unsatisfactory work performance. (Prakhin Aff., ¶ 45). Similarly,

 Defendants terminated the employment of attorney Alex Smolyar in November 2015, after about

 four months of employment, due to unsatisfactory performance, which included failing to

 communicate with clients and failing to adequately prepare motions and cases for trial. (Id., ¶ 47)

 Defendants also terminated attorney Daniel Berke in March 2016, after about five months of

 employment, for poor performance and excessive absences. (Id., ¶ 48). Defendants have also

 terminated other attorneys, including Stephen Revis and Gregory Nahas, for unexcused absences

 and unsatisfactory performance, including failing to communicate with clients and failing to enter

 SAGA notes. (Id., ¶ 49; Prakhin 30(b)(6) Tr. at 113). As Defendants applied the same workplace

 policies and performance standards to all attorneys, including Plaintiff, and terminated those

 attorneys who failed to comply with these policies and standards, no inference of discrimination

 arises from the termination of Plaintiff’s employment.

        The Firm’s hiring of Mr. Zohar also does not establish an inference of discrimination as

 Mr. Zohar possessed superior qualifications compared to Plaintiff. See Meyer v. McDonald, 241

 F. Supp. 3d 379, 395 (E.D.N.Y. 2017) (quoting Texas Dep’t of Cmty. Affs. v. Burdine, 450 U.S.

 248, 259 (1981)). Mr. Zohar has over twenty years of experience as a practicing attorney and had

 been engaged by the Firm as a trial attorney prior to commencing his full-time employment with

 the Firm in 2019. (Prakhin Tr. at 234, 316-317; Prakhin Aff., ¶ 14). Comparatively, Plaintiff has

 only been practicing law since November 2012 and only conducted one trial, which she lost. (Pl.

 Tr. at 92:20-91:24; Donnelly Decl., Ex. N). Mr. Zohar was also hired in December 2018 as the

 Firm’s new Managing Attorney to replace Ms. Gabo. (Prakhin Aff., ¶ 50; Prakhin Tr. at 234, 317;




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 Zohar Aff., ¶ 5).      As Mr. Zohar possesses superior qualifications and performed different

 responsibilities as the Firm’s managing attorney, Defendants’ hiring of Mr. Zohar does not

 establish an inference of discrimination.

        Further, the temporal proximity between Plaintiff’s diagnosis and the termination of her

 employment with the Firm is insufficient to defeat Defendants’ motion for summary judgment.

 “[T]emporal proximity, without more, is insufficient to establish pretext.” Stuart v. T-Mobile USA,

 Inc., No. 14–CV–4252, 2015 WL 4760184, at *7 (S.D.N.Y. Aug. 12, 2015). As Defendants

 terminated Plaintiff for legitimate, non-discriminatory reasons, Plaintiff’s discrimination claims

 should be dismissed.

 B.     Defendants’ Terminated Plaintiff’s Employment Based
        on Legitimate, Non-Discriminatory Reasons

        Even, assuming arguendo, that Plaintiff can establish a prima facie case of discrimination,

 Defendants have articulated legitimate business reasons for the termination of Plaintiff’s

 employment. As the Second Circuit stated in McPherson v. New York City Department of

 Education: “[i]n a discrimination case, however we are decidedly not interested in the truth of the

 allegations against Plaintiff. We are interested in what motivated the employer; the factual validity

 of the underlying imputation against the employee is not at issue.” 457 F.3d 211, 216 (2d Cir.

 2006). Unsatisfactory job performance is a legitimate, non-discriminatory reason to terminate an

 employee. Fall v. N.Y.S. United Teachers, 289 Fed. Appx. 419, 421 (2d Cir. 2008); Macropoulous

 v. Metro. Life Ins. Co., 2018 WL 1508564, at *9 (S.D.N.Y. 2018) (holding that frequent lateness

 to work and inaccurate or late work product each constituted “a legitimate, non-discriminatory

 reason for an employee’s dismissal”). Plaintiff’s employment was terminated based on her poor

 work performance. Specifically, Plaintiff failed to: (1) timely respond to or communicate with

 clients; (2) perform the work assigned to her and reassigned such work to paralegals; (3) review



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 documents prepared by paralegals on her behalf; (4) enter case notes into the Firm’s SAGA

 database; (5) follow the policies and procedures stated in the Employee Handbook; and

 (6) proactively settle cases. (Prakhin Tr. at 272-277, 304:13-22, 368-369; Prakhin Aff. at ¶ 45).

 Plaintiff’s employment was lawfully terminated for unsatisfactory performance.

         Moreover, complaints of dissatisfaction from clients constitutes a legitimate, non-

 discriminatory reason for an employee’s termination. See, e.g., House v. Wackenhut Servs., 2012

 WL 4017334 (S.D.N.Y. 2012) (finding that performance issues and customer complaint were

 legitimate reasons for terminating plaintiff) (collecting cases); Young v. Nassau Univ. Med. Ctr.,

 2011 WL 6748500 (E.D.N.Y. 2011); Bronzini v. Classic Sec. LLC, 2009 WL 102140 (S.D.N.Y.

 2009). Mr. Prakhin received multiple complaints from clients about Plaintiff’s non-responsiveness

 and unprofessional conduct. (Prakhin Aff., ¶¶ 30-35). “Federal courts do not have a roving

 commission to review business judgments, and may not sit as super personnel departments,

 assessing the merits—or even the rationality—of employers’ non-discriminatory business

 decisions.” Hernandez v. Int’l Shoppes, LLC, 100 F. Supp. 3d 232, 263 (E.D.N.Y. 2015) (internal

 quotations omitted). Plaintiff’s employment was terminated for legitimate, non-discriminatory

 business reasons. Accordingly, Plaintiff’s disability discrimination claims should be dismissed in

 their entirety.

 C.      Plaintiff cannot Establish that her Termination Based
         on Poor Work Performance is Pretextual

         Since Defendants have proffered legitimate, non-discriminatory reason for the termination

 of Plaintiff’s employment, Plaintiff bears the burden of demonstrating that discrimination was the

 true reason for her termination. A plaintiff satisfies this burden “by adducing evidence sufficient

 to show by a preponderance that the employer’s purported reasons for its actions are mere pretext,

 and that discrimination was the real but-for cause of any adverse employment actions.” Wein v.



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 N.Y.C. Dep’t of Educ., 2020 WL 4903997, at *15 (S.D.N.Y. 2020). Plaintiff cannot sustain this

 burden as there is overwhelming evidence demonstrating her inadequate work performance.

        As demonstrated fully above, a review of Plaintiff’s SAGA entries confirms that Plaintiff

 entered significantly less notes than any other attorneys employed by the Firm. Plaintiff clearly

 failed to perform this essential function of her position. In fact, Plaintiff’s claim that other

 attorneys failed to enter case notes in SAGA is belied by the documentary evidence in this matter.

 (Prakhin Aff., ¶ 38; Raskin Aff., ¶ 13, Ex. 3).

        Plaintiff’s failure to proactively negotiate settlements of her assigned matters is also

 demonstrable. Between June and December 2018, Plaintiff received settlement bonuses of $650,

 which generated revenue of $13,000 for the Firm. (Prakhin Aff., ¶ 40). For the same period of

 time, Ms. Beron earned approximately $8,585 in settlement bonuses, which generated revenue of

 $171,700 for the Firm and Ms. Gabo earned approximately $71,000 in settlement bonuses, which

 generated revenue of $1,420,000 for the Firm. (Id., ¶¶ 41-42). Plaintiff’s performance with respect

 to settlement of her assigned cases was also deficient.

        Plaintiff also failed to perform other essential responsibilities of her position. Plaintiff

 failed to respond to or communicate with both clients and opposing counsel. (Prakhin Aff., ¶¶ 27-

 32; Donnelly Decl., Exs. S-U). Plaintiff repeatedly violated the Firm’s workplace policies

 regarding cellphone use and engaging in personal matters while at work. (Raskin Aff., ¶¶ 8-10).

 Plaintiff also improperly assigned work to her paralegals and failed to review the work product

 they drafted. (Belous Tr. at 54:18-23, 61:10-62:6; Larssen Aff., ¶ 8; Belous Aff., ¶ 8). As the

 undisputable evidence demonstrates that Plaintiff failed to adequately perform the essential

 functions of her position, Plaintiff cannot demonstrate any evidence of pretext.




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                                               POINT III

                  PLAINTIFF’S FAILURE TO ACCOMMODATE CLAIMS
                  ARE FATALLY DEFICIENT AND MUST BE DISMISSED

         Plaintiff also cannot establish a failure to accommodate claim under the ADA, NYSHRL,

 or NYCHRL. To establish a claim for failure to accommodate under the ADA and NYSHRL,

 Plaintiff must demonstrate that: (1) she is a person with a disability under the applicable law;

 (2) her employer knew of her disability; (3) she could perform the job’s essential functions, with

 or without reasonable accommodation; and (4) her employer refused to make such

 accommodations. Lazzari v. N.Y.C. Dep’t of Parks & Recreation, 751 Fed. Appx. 100, 102 (2d

 Cir. 2018) (holding that the same legal standards apply to ADA and NYSHRL claims). Under

 NYCHRL, an employer is required to “make reasonable accommodation to enable a person with

 a disability to satisfy the essential requisites of a job provided that the disability is known or should

 have been known by the employer.” Id. As Plaintiff cannot establish the prima facie elements for

 a failure to accommodate claim, such claims should be dismissed in their entirety.

 A.      Defendants Provided Plaintiff with Reasonable Accommodations

         Plaintiff cannot establish a failure to accommodate claim as a matter of law because

 Defendants provided Plaintiff with numerous accommodations. Summary judgment dismissing a

 failure to accommodate claim is appropriate where the employer provided reasonable

 accommodations to the plaintiff. Noll v. IBM Corp., 787 F.3d 89, 95 (2d Cir. 2015). Indeed, “the

 plain reasonableness of the existing accommodation ends the analysis,’” and warrants summary

 judgment for the employer. Williams v. Geiger, 447 F. Supp. 3d 68, 83 (S.D.N.Y. 2020) (quoting

 Noll, 787 F.3d at 94). Defendants provided Plaintiff with a full-page magnifier and approved

 Plaintiff’s purchase of a magnifier upon her request. (Pl. Tr. at 212:11-18, 253:3-12; Raskin Tr.

 at 143:17-25). Defendants also accommodated Plaintiff by arranging to have the font on her



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 computer adjusted. (Raskin Tr. at 124:2-18). Plaintiff was also permitted to upload software of

 her choice to the Firm’s computers. (Pl. Tr. at 223:22-224:17; Prakhin Aff., ¶ 25; Raskin Aff., ¶

 24). Despite such accommodations, Plaintiff remained unable to perform the essential functions

 of her job. Since Defendants provided Plaintiff with these reasonable accommodations, her failure

 to accommodate claim fails as a matter of law.

        Defendants also provided Plaintiff with unpaid leaves of absence as a reasonable

 accommodation.     It is well established that a leave of absence constitutes a reasonable

 accommodation. Vangas v. Montefiore Med. Ctr., 6 F. Supp. 3d 400, 413 (S.D.N.Y. 2014); see

 e.g. Ciullo v. Yellow Book, USA, Inc., 2012 WL 2676080, at *11 (E.D.N.Y. 2012) (dismissing

 plaintiff’s failure to accommodate claim were all of plaintiff’s requests to attend medical

 appointments were granted). Plaintiff acknowledges that she was provided with leave to attend

 medical appointments. (Pl. Tr. at 200:23-201:8, 239:11-13). Indeed, Plaintiff has not and cannot

 identify a single day where a request for time off from work to attend a medical appointment was

 denied. Defendants’ granted Plaintiff time off to attend medical appointments despite the fact the

 Plaintiff never submitted any medical documentation in support of such requests for leave as

 required under the Employee Handbook. Defendants reasonably accommodated Plaintiff by

 providing her with multiple leaves of absence from work.

 B.     Defendants did not Refuse to Provide Reasonable Accommodations

        Plaintiff alleges that Defendants failed to accommodate her because Defendants did not

 purchase assistive devices for her or reimburse Plaintiff for items she purchased. (Complaint at ¶

 63). However, as detailed above, Defendants provided Plaintiff with reasonable accommodations

 during her employment with the Firm.         Further, Defendants did so without any medical

 documentation or written communication from Plaintiff regarding the need for such




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 accommodations.     Plaintiff’s desire for accommodations different from those provided by

 Defendants does not establish a failure to accommodate claim as a matter of law.

        Moreover, Defendants were not required to provide the devices allegedly requested by

 Plaintiff as they were not effective accommodations. An employer only has an obligation to

 provide an employee with effective accommodations. Noll v. IBM Corp., 787 F.3d 89, 95 (2d Cir.

 2015); 29 C.F.R. Part 1630 App. (“[T]he employer providing the accommodation has the ultimate

 discretion to choose between effective accommodations and may choose the less expensive

 accommodation or the accommodation that is easier for it to provide.”). The employee bears the

 burden of demonstrating that the requested accommodation would enable her to perform the

 essential functions of the job. See Nuchman v. City of New York, 639 Fed. Appx. 48, 49-50 (2d

 Cir. 2016). Plaintiff never submitted any medical documentation to Defendants identifying any

 disability, nor identifying any accommodation that would enable her to perform the essential

 functions of her position. Plaintiff concedes that several of the assistive devices she selected and

 purchased did not enable her to perform the essential functions of her position.           Plaintiff

 discontinued using the JAWS software program she purchased in December 2018 because she

 “soon realized it was intended for individuals who were completely blind rather than visually

 impaired.” (Pl. Tr. at 229-230; Donnelly Decl., Ex. L). Plaintiff also acknowledged that she does

 not know if JAWS would have assisted her in performing her job functions, such as conducting

 depositions. (Pl. Tr. at 225:14-22). Similarly, Plaintiff returned the OrCam glasses she purchased

 because she “didn’t find them very useful.” (Pl. Tr. at 220:24-221:8; Larssen Tr. at 86:1-24). As

 these devices would not be and were not effective in assisting Plaintiff to perform the essential

 functions of her job, Defendants were not required to provide such accommodations as a matter of

 law. Further, Plaintiff never requested reimbursement from Defendants for any of the devices she




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 purchased, nor did she ever submit any documentation indicating that such devices would enable

 her to perform the essential responsibilities of her position.

 C.     Defendants Engaged in the Interactive Process with Plaintiff

        Defendants also engaged in the interactive process with Plaintiff. The interactive process

 can involve “meeting with the employee who requests an accommodation, requesting information

 about the condition and what limitations the employee has, asking the employee what he or she

 specifically wants, showing some sign of having considered the employee’s request, and offering

 and discussing available alternatives when the request is too burdensome.” Frilando v. N.Y.C.

 Transit Auth., 2021 WL 119639, at *7 (S.D.N.Y. 2021); see N.Y.C. Admin. Code § 8-102

 (defining “cooperative dialogue” as the employer and employee “engag[ing] in good faith in a

 written or oral dialogue concerning the person’s accommodation needs . . . including alternatives

 to a requested accommodation”). From September 2018 through December 2018, Ms. Raskin met

 with Plaintiff on numerous occasions. (Raskin Tr. at 121:23-123:21; Pl. Tr. at 194:11-195:6).

 During these meetings, Ms. Raskin and Plaintiff discussed magnifying devices for Plaintiff and

 installing software onto the Firm’s computer to assist Plaintiff. (Raskin Tr. at 121-125, 145-147,

 157-158; Pl. Tr. at 194 -195, 212, 253). Ms. Raskin also approved Plaintiff to take time off to

 attend medical appointments, despite the fact that Plaintiff never submitted any medical

 documentation in support of that request as required under the Employee Handbook. (Pl. Tr. at

 205:14-206:2, 217:12-21; Raskin Aff. ¶¶ 17, 22, 28). As these interactions included discussions

 of reasonable accommodations that could be and were provided to Plaintiff, Defendants fulfilled

 their obligations to engage in the interactive process.

        Additionally, both Ms. Raskin and Mr. Prakhin proposed that Plaintiff take a leave of

 absence to permit Plaintiff to obtain medical treatment and determine what accommodations, if

 any, would best meet her needs. (Raskin Tr. at 157:21-160:23; Pl. Tr. at 201:5-6.) As noted above,


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 a leave of absence constitutes a reasonable accommodation. Van Ever-Ford v. Off. of Mental

 Health (Buffalo Psychiatric Ctr.), 2020 WL 5951334, at *14 (W.D.N.Y. 2020); Vangas v.

 Montefiore Med. Ctr., 6 F. Supp. 3d 400, 413 (S.D.N.Y. 2014). However, Plaintiff refused this

 accommodation, claiming that she was not disabled. (Raskin Tr. at 64:2-14, 158:2-10; Donnelly

 Decl., Ex. A, ¶ 42). Plaintiff’s outright rejection of this proposed reasonable accommodation does

 not establish a claim against Defendants for failure to engage in the interactive process or failure

 to accommodate. See Romanello v. Intesa Sanpaolo S.P.A., 97 A.D.3d 449, 451, 949 N.Y.S.2d

 345, 349 (1st Dep’t 2012), aff’d as modified, 22 N.Y.3d 881 (2013). Thus, Plaintiff’s own conduct

 in response to Defendants’ attempt to engage in the interactive process warrants dismissal of her

 claims against Defendants.

        Plaintiff’s claims are also fatally deficient as Plaintiff failed to make a reasonable good

 faith effort to engage in the interactive process with Defendants.         A party that “fails to

 communicate, or withholds important information solely within the knowledge of that party, can

 be found to have obstructed the [interactive] process in bad faith.” Thompson v. City of New York,

 2002 WL 31760219 (S.D.N.Y. 2002) (citing Jackan v. N.Y.S. Dep’t of Labor, 205 F.3d 562, 566

 (2d Cir. 2000)).    An employer cannot be held liable for failing to provide a reasonable

 accommodation where an employee obstructs the interactive process. Durick v. N.Y.C. Dept. of

 Educ., 2016 WL 4385908, at *8 (E.D.N.Y. 2016). Plaintiff obstructed the interactive process when

 she failed to provide documentation to Defendants regarding her medical condition or any

 reasonable accommodations that would enable her to perform the essential functions of her job.

 Plaintiff admits that she did not provide Defendants with any documentation regarding her

 purchase of any assistive devices, including any receipts for reimbursement. (Pl. Tr. at 214:9-19,

 217:9-11, 223:3-17; Raskin Aff., ¶ 30). Even where Defendants authorized Plaintiff to purchase




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 an assistive device, Plaintiff failed to inform Defendants of that purchase or submit a receipt for

 reimbursement.     (Pl. Tr. at 214:9-19).   As Plaintiff failed to make a reasonable effort to

 communicate with Defendants as part of the interactive process, Plaintiff cannot establish any

 claim for failure to accommodate.

 D.      Plaintiff Failed to Provide Defendants with Adequate Information

         Plaintiff also failed to provide Defendants with sufficient information about her medical

 condition. It is well-established that a defendant cannot be held liable for failing “to provide a

 reasonable accommodation if the plaintiff fails to provide the information necessary to assess the

 request for an accommodation in the first place.” Frantti v. New York, 414 F. Supp. 3d 257, 288

 (N.D.N.Y. 2019), aff’d sub nom., 2021 WL 864706 (2d Cir. Mar. 9, 2021). In Thompson v. City

 of New York, where an employee with cervical cancer alleged that her employer failed to provide

 her with an accommodation, the Court found that since “[t]he nature of her condition was solely

 within her knowledge . . . it was her responsibility to provide the necessary medical documentation

 to defendants.” 2002 WL 31760219, at *8. In dismissing the plaintiff’s claims under the ADA,

 the Court held that “Defendants cannot be held liable for failing to provide a reasonable

 accommodation when it was plaintiff who stymied the extent of their knowledge of her alleged

 disability in the first instance.” Id.

         Similarly, Plaintiff failed to provide Defendants with sufficient information regarding her

 medical condition. The Firm’s Employee Handbook explicitly provides that an “employee who

 requires an accommodation in order to perform the essential functions of the job should contact

 YURIY PRAKHIN ESQ or his or her duly authorized designee and request such an

 accommodation, and confirm such a request in writing.” (Raskin Aff., Ex. 1). However, Plaintiff

 concedes that she never submitted any written requests for accommodation nor provided

 Defendants with any medical documentation regarding her medical condition or any


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 accommodation that would enable her to perform the essential functions of her job. (Pl. Tr. at

 205:14-206:2; 217:12-21). Instead, Plaintiff repeatedly informed Defendants that she was not

 disabled and able to perform the essential functions of her position. (Raskin Tr. at 64:2-14, 158:2-

 10; Prakhin Aff., ¶ 28). As Plaintiff failed to provide Defendants with any medical documentation

 regarding her medical condition, Plaintiff cannot establish any failure to accommodate claim

 against Defendants.


                                          CONCLUSION

        For the foregoing reasons, Defendants respectfully request that this Court grant their motion

 for summary judgment, dismiss the Complaint in its entirety, and provide such other and further

 relief as this Court deems just and appropriate.

 Dated: New York, New York
        May 11, 2021

                                                 /s/   MED
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